      Case 2:15-cr-00190-KJM Document 278 Filed 10/30/17 Page 1 of 11


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4                         UNITED STATES DISTRICT COURT

5                        EASTERN DISTRICT OF CALIFORNIA

6

7    UNITED STATES OF AMERICA,                No. 2:15-cr-00190-GEB
8                   Plaintiff,
9         v.                                  AMENDED JUDGE VOIR DIRE
10   JOHN MICHAEL DICHIARA, et. al.,
11                  Defendants.
12

13              Attached are amended voir dire questions. Two questions

14   have been added.     One is an inquiry about what is understood to

15   be the crux of Defendant Dichiara’s proposed voir dire questions

16   concerning whether a potential juror has a religious tenet that

17   could interfere with the potential juror being an impartial juror

18   in this case.     The other added question inquiries about what is

19   understood to be the crux of Defendant Larsen’s proposed voir

20   dire questions concerning whether any potential juror had or has

21   dealings and/or a relationship with certain business entities

22   that could interfere with the potential juror being an impartial

23   juror in this case.

24              When   seeking    to    determine    the   factual    allegations

25   involved   with    the    trial    for    the   purpose    of    considering

26   appropriate voir dire, the Court relied on the facts in the

27   government’s    trial    brief    and   allegations   in   the   Indictment.

28   Defendant Dichiara states in his Trial Brief: “The governments
      Case 2:15-cr-00190-KJM Document 278 Filed 10/30/17 Page 2 of 11


1    [sic] trial brief outlines the basic facts surrounding the issues

2    to be tried in this matter . . . [;] the brief . . . provides

3    sufficient background for the Court.” Def. Dichiara’s Trial Brief

4    1:22-25, ECF No. 227.

5               In   light   of   certain   proposed    voir   dire     questions

6    submitted by one of the parties in this case, the judge may

7    decide to conduct all voir dire. “[A] trial court [does not]

8    abuse[] its discretion in conducting voir dire where there is

9    sufficient    questioning    to   produce,   in   light   of   the   factual

10   situation involved in the particular trial, some basis for a

11   reasonably knowledgeable exercise of the right of challenge.”

12   United States v. McAnderson, 914 F.2d 934, 943 (7th Cir. 1990)

13   (quoting United States v. Hasting, 739 F.2d 1269, 1273 (7th Cir.

14   1984)).

15              Bearing in mind the purpose of voir dire, the judge has

16   endeavored to sufficiently inquire of potential jurors whether

17   they can be fair and impartial in this case. The Ninth Circuit

18   states in Darbin v. Nourse: “The principal purpose of voir dire

19   is to probe each prospective juror's state of mind to enable the

20   trial judge to determine actual bias and to allow counsel to
21   assess suspected bias or prejudice.”          664 F.2d 1109, 1113 (9th

22   Cir. 1981).     Further, “a [party] is not necessarily entitled to

23   test the jurors on their capacity to accept his [or its] theory

24   of the case.”     United States v. Toomey, 914 F.2d 934, 943 (9th

25   Cir. 1985).

26              In addition,
27              [t]he court need not use the question in the
                precise form suggested by counsel. Nor need a
28              particular question be asked if the substance
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      Case 2:15-cr-00190-KJM Document 278 Filed 10/30/17 Page 3 of 11


1                of   the   inquiry   is   covered   in   another
                 question, differently phrased, or in the voir
2                dire as a whole. Certainly the trial court
                 need   not   conduct   an   inquiry   which   is
3                cumulative.

4    Darbin, 664 F.2d at 1113.

5                Lastly,       although       the     previous     trial     documents

6    transmittal order to which proposed trial documents were attached

7    informed the parties that a bench conference would be convened,

8    if   necessary,    to    discuss     issues    concerning     voir     dire,    that

9    portion of the transmittal order is withdrawn.                    Delay attendant

10   with   a   bench   conference      or   conferences      should   be   avoided    if

11   feasible, and the parties could help in the endeavor to avoid

12   such   conferences      by   proposing    voir    dire   questions     that    could

13   foster the goal of voir dire as soon as is feasible by filing

14   proposed voir dire on the public docket.

15               Dated:      October 27, 2017

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     Case 2:15-cr-00190-KJM Document 278 Filed 10/30/17 Page 4 of 11


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                                    VOIR DIRE
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                          UNITED STATES DISTRICT COURT
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                         EASTERN DISTRICT OF CALIFORNIA
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9    UNITED STATES OF AMERICA,              No. 2:15-cr-00190-GEB

10                 Plaintiff,

11   v.                                     VOIR DIRE

12   JOHN MICHAEL DICHIARA, et. al.,

13                 Defendants.

14              Good morning and welcome to the United States District
15   Court.    Thank you for both your presence and your anticipated
16   cooperation in the questioning process we are about to begin.
17   You are performing an important function in our legal system.
18              The court personnel who will assist me in this trial
19   are on the platform below me.            The Courtroom Deputy Clerk is
20   Shani Furstenau.     Next to her is the Certified Court Reporter.
21   Ms.   Furstenau,   please   administer    the   oath   to   the   prospective
22   jurors.
23              We are about to begin what is known as voir dire.            Voir
24   dire consists of questions designed to provide the court and the
25   parties   with   information   about     each   potential    juror.     After
26   questioning is complete, the parties will exercise what is known
27   as peremptory challenges.
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      Case 2:15-cr-00190-KJM Document 278 Filed 10/30/17 Page 6 of 11


1                   1.    Parties,         the     Jury     Administrator          has       already

2    randomly selected potential jurors and their names are on the

3    sheet you have been given in the order of the random selection.

4    Each potential juror has been given a large laminated card on

5    which    the    number      is     placed     showing       the    order     in     which     the

6    potential juror was randomly selected.

7                   2.    I will ask the potential jurors questions as a

8    group.     If a potential juror has a response, he or she shall

9    raise the laminated card.                   Generally, the potential juror with

10   the lowest number will respond first.                         If no laminated card is

11   raised, I will simply state “no response” and then ask the next

12   question.       If you know it is your turn to respond to a question,

13   you may respond before I call your                      seat       number         by    stating

14   your     seat       number,      then       your response.             That could expedite

15   the process.

16                  3.    If a potential juror concludes a question unduly

17   pries into a private matter, the potential juror may request to

18   respond    out      of   the     earshot      of    other     potential      jurors.          I’m

19   authorized to try to protect legitimate privacy interests, but

20   may ask questions in the area that you indicate a desire to
21   discuss in private to determine whether it, or any aspect of the

22   matter, should be responded to as indicated.                             This approach is

23   taken because the trial should be open unless I have a legitimate

24   reason to close an aspect of it.

25                  4.    The presentation of evidence and closing argument

26   portions       of    the      trial     are        expected       to    be   completed        in
27   approximately        9     court    days,      after     which         the   case      will   be

28   submitted to the jury for jury deliberation.                                 Trial will be
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      Case 2:15-cr-00190-KJM Document 278 Filed 10/30/17 Page 7 of 11


1    conducted on Tuesdays, Wednesdays, and Thursdays, from 9:00 a.m.

2    to    about        4:30     p.m.        However,          once     you     commence        jury

3    deliberations,        you    will      be    expected      to    deliberate        every    day

4    except weekends until you complete your deliberations.                              Does the

5    schedule pose a special problem for any prospective jury?

6                  5.     Each     party     may    make       any    desired     introduction;

7    however, the United States shall name anticipated witnesses it

8    may call so it can be determined whether any potential jury knows

9    or has had contact with a person named.

10                        a.      Do you know and or have you had any contact

11                                with a person just named?

12                 6.     This    is    a   criminal      case       brought    by   the   United

13   States. The United States charges all defendants in Count One of

14   the    indictment         with      conspiracy        to        falsely     make      lending

15   association writings and to commit bank fraud.                           The United States

16   charges defendant George Larsen in Counts 19, 20, 23, 24, and 33

17   with Bank Fraud. The United States charges defendant Larry Allen

18   Todt in Count 31 with Bank Fraud. The indictment simply describes

19   the charges the United States brings against the defendants. The

20   indictment     is     not    evidence        and   does    not    prove     anything.       The
21   defendants     have       pleaded      not    guilty       to    the     charges    and     are

22   presumed innocent unless and until the United States proves the

23   defendants guilty beyond a reasonable doubt. In addition, the

24   defendants have the right to remain silent and never have to

25   prove innocence or to present any evidence.

26                 7.     Have you read or seen anything about the charges
27   in this case?

28                             a. If so, is there anything about what you may
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      Case 2:15-cr-00190-KJM Document 278 Filed 10/30/17 Page 8 of 11


1                             have read or seen which would affect your

2                             ability to consider only the evidence that

3                             you     hear     in   court       and       to    be    fair    and

4                             impartial to both sides?

5               8.     In light of the allegations, does any potential

6    juror prefer not being a juror on this case?

7               9.     Is   there       anything    about       the       allegations        which

8    causes you to feel that you might not be a fair juror in this

9    case?

10              10.    Is there any reason why you would not be able to

11   be a juror and/or to give your full attention to this case?

12              11.    Have you, any member of your family, or any close

13   friend been arrested for a crime or been the defendant in a

14   criminal case?

15              12.    Do you have any religious or moral objection to

16   sitting in judgment of another’s conduct in a court of law?

17              13.    Certain allegations in this case allege that a

18   church   entity     and/or     a    spiritual       organization           was    used     in

19   connection      with   charged      fraudulent       activities.                Will     such

20   allegations      interfere     with     your   ability          to    be    a    fair    and
21   impartial juror?

22              14.    Have    you       had    dealings         with          any    financial

23   institution that would interfere with your ability to be a fair

24   and impartial juror on this case, in light of allegations that

25   defendants conspired to defraud such institutions?

26              15.    Have you ever served as a juror in the past, in
27   any capacity?

28                     a.     State     whether     it    was    a    civil      or    criminal
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      Case 2:15-cr-00190-KJM Document 278 Filed 10/30/17 Page 9 of 11


1                              case, and whether the jury reached a verdict,

2                              but do not state the actual verdict reached.

3                16.   Would    you    tend        to    believe    the    testimony    of    a

4    witness just because of that witness’s present or former status

5    as a law enforcement officer?

6                17.   Would you tend to disbelieve the testimony of a

7    witness just because of the witness’s present or former status as

8    a law enforcement officer?

9                18.   You are required to apply the law I will give you

10   even if you believe a different law should apply.                       If you cannot

11   agree to what I just said, please raise your hand.

12               19.   Do you have any difficulty with the rule of law

13   that a person charged with a crime is presumed innocent and need

14   not present any evidence, and the government at all times bears

15   the burden of proving guilt beyond a reasonable doubt?

16               20.   Do you have any problem with the rule of law that

17   a defendant need not testify on his own behalf and that if a

18   defendant    chooses      not    to    testify,       that     factor    may   not      be

19   considered by you in your deliberations?

20               21.   Is there anything we have not discussed that you
21   believe could have a bearing on your ability to be a fair and

22   impartial   juror   in     this       case,    or    that     you    suspect   a   trial

23   participant would desire to know?

24               22.   The Courtroom Deputy Clerk will give the juror in

25   seat number one a sheet on which there is information we seek.

26   Please pass the sheet to a potential juror near you after you
27   respond.

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     Case 2:15-cr-00190-KJM Document 278 Filed 10/30/17 Page 10 of 11


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2              Please state:

3                    a.    your juror seat number;

4                    b.    your name and educational background;

5                    c.    the   educational         background   of   any   person

6                          residing with you;

7                    d.    your present and former occupations; and

8                    e.    the   present       and   former   occupations    of   any

9                          person residing with you.

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